Case 21-19604-SLM     Doc 34    Filed 06/01/22 Entered 06/01/22 16:23:37         Desc Main
                               Document      Page 1 of 4




                                                        Order Filed on June 1, 2022
                                                        by Clerk,
                                                        U.S. Bankruptcy Court
                                                        District of New Jersey




DATED: June 1, 2022
Case 21-19604-SLM   Doc 34    Filed 06/01/22 Entered 06/01/22 16:23:37   Desc Main
                             Document      Page 2 of 4
Case 21-19604-SLM   Doc 34    Filed 06/01/22 Entered 06/01/22 16:23:37   Desc Main
                             Document      Page 3 of 4
Case 21-19604-SLM   Doc 34    Filed 06/01/22 Entered 06/01/22 16:23:37   Desc Main
                             Document      Page 4 of 4
